Case 2:03-cr-20316-.JPI\/| Document 84 Filed 05/06/05 Page 1 of 2 Page|D 80

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' .F.i.? B"\! % ,_ i,.
lN THE UNITED STATES DlSTRlCT COUR§.“
FOR THE WESTERN DlSTRlCT OF TENNES%E§M ‘_6 iam m: 52
WESTERN DWIS|ON `, _,

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uNrrED sTA'rEs oF AMERicA, ?L‘“’ ‘5; n `
P|aintiff,
vs. cr. No. oa-cR-2031s-D
sHELRch EowARos,
Defendant.

 

ORDER GRANT|NG APPLICAT|ON FOR WR|T
OF HABEAS CORPUS AD TEST|FICANDUM

 

TH|S CAUSE came before thileourt on the petition of the defendant for an order
directing a Writ of Habeas Corpus Ad Testificandum. For good cause shownr the court
hereby GRANTS the motion.

David Jo|ley, United States Marsha| for the Western District of Tennessee, is hereby
commanded to have: Christopher Young, registration number 313189, who is confined at
the West Tennessee State Penitentiary, P. O. Box 1050, Henning, TN. 38041, phone
number (731) 738-5044 to appear before the court on:

Tuesdav. Mav 10. 2005 at 9:00 a.rn. for the triat in this case.

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U ited States District Court Judge

Tbl" donur'w'~t entered on the docket sheet in compilr:-.J".ca \
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Notice of Distribution

This notice confirms a copy of the document docketed as number 84 in
case 2:03-CR-203]6 Was distributed by faX, mail, or direct printing on
May 6, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

